                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                     CIVIL ACTION NO: 1:14-CV-954-LCB-JLW

  STUDENTS FOR FAIR ADMISSION,
  INC.,

           Plaintiff,

           v.

  THE UNIVERSITY OF NORTH
  CAROLINA AT CHAPEL HILL, et
  al.,

           Defendants.


        MEMORANDUM IN SUPPORT OF MOTION FOR REDACTION OF
                          TRANSCRIPT

         Defendants respectfully move for redaction of the trial transcript in this case at pages

and lines 560:22-562:16. This portion of the transcript contains personally-identifiable

information about former students at UNC-Chapel Hill and should be redacted pursuant to

the Family Educational Rights and Privacy Act (“FERPA”), 20 U.S.C. §1232g.

   I.       The University Has Obligations Under FERPA to Protect Student
            Information.

         FERPA applies to educational institutions, such as UNC-Chapel Hill, that receive

federal funds, and it protects the privacy of student education records. 20 U.S.C. § 1232g.

FERPA terminates funding to educational institutions or agencies that have a policy or

practice of releasing students’ education records that contain personally identifiable

information without the written consent of the parent or eligible student, unless a statutory




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exception applies. 20 U.S.C. § 1232g(b)(1)-(2). FERPA defines education records in broad

fashion as “those records that are: (1) Directly related to a student; and (2) Maintained by

an educational agency or institution.” 34 C.F.R. § 99.3 (citing 20 U.S.C. § 1232g(a)(4)).

         The personally identifiable information in students’ education records is not limited

to a student’s name, address, and place of birth. Id. Rather, it expressly includes

“information that, alone or in combination, is linked or linkable to a specific student that

would allow a reasonable person in the school community, who does not have personal

knowledge of the relevant circumstances, to identify the student with reasonable certainty.”

Id. With limited exceptions not applicable here, FERPA prohibits the University from

releasing personally identifiable information about a student absent the student’s written

consent. 20 U.S.C. § 1232g(b).

   II.      The Portion of the Transcript at Issue Contains Personally-Identifiable
            Information and Should Be Redacted.

         During the November 2020 trial in this case, Defendants offered the testimony of

Mr. Steven Farmer, Vice Provost for Enrollment and Undergraduate Admissions. In his

testimony, Mr. Farmer was asked to share examples of students who illustrated the

educational benefits of diversity, and he did so. (T pp 560:22-562:16) While Mr. Farmer

did not share the names of the former students he described, he discussed their personal

circumstances in sufficient detail that the former students could be identified from the

testimony.     Accordingly, the testimony at issue constitutes personally identifiable

information that should not be made public pursuant to FERPA without the students’

express consent. See 20 U.S.C. § 1232g(b); 34 C.F.R. § 99.3.



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       Similar testimony and documents (including applications) relating to students were

placed under seal at the trial. However, redaction of a portion of Mr. Farmer’s answer will

serve the same purpose and constitutes a less drastic alternative to a motion to seal.

Accordingly, the University respectfully requests that the Court order the redaction of the

transcript at 560:22-562:16.

       Counsel has reached out to Plaintiffs and Defendant-Intervenors to obtain their

position on this motion, and they have indicated that they do not object to the requested

redaction.



       This the 11th day of January, 2021.




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                                            JOSHUA H. STEIN
                                             Attorney General

/s/ Patrick Fitzgerald                      /s/ Stephanie Brennan
Patrick Fitzgerald                          Stephanie Brennan
Amy Van Gelder                              Special Deputy Attorney General
Marianne Combs                              NC State Bar No. 35955
Skadden, Arps, Slate, Meagher & Flom LLP    E: sbrennan@ncdoj.gov
155 North Wacker Drive
Chicago, IL 60606-1720                      /s/ Tamika Henderson
(312) 407-0700                              Tamika Henderson
E: patrick.fitzgerald@skadden.com           Special Deputy Attorney General
E: amy.vangelder@skadden.com                NC State Bar No. 42398
E: marianne.combs@skadden.com               E: tlhenderson@ncdoj.gov

/s/ Lara Flath
Skadden, Arps, Slate, Meagher & Flom LLP
One Manhattan West
New York, NY 10001
(212) 735-3000
E: lara.flath@skadden.com


                                            Attorneys for the UNC-Defendants




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